105 F.3d 647
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis Jerome MCCRAY, Plaintiff-Appellant,v.Jim TOWNLY, Superintendent;  Virginia Department ofTransportation, Defendants-Appellees.
    No. 96-6767.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 19, 1996.Decided Dec. 31, 1996.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Samuel G. Wilson, District Judge.  (CA-95-940-R)
      Curtis Jerome McCray, Appellant Pro Se.
      Pamela Anne Sargent, Assistant Attorney General, Richmond, Virginia, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  McCray v. Townly, No. CA-95-940-R (W.D.Va. Apr. 9, 1996).  We deny Appellant's motion for appointment of counsel.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    